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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                  §
                                        §
HIGHLAND CAPITAL MANAGEMENT,            §
                                                Bankruptcy Case No. 19-34054
L.P.,                                   §
                                        §
     Debtor.                            §
HIGHLAND CAPITAL MANAGEMENT             §
FUND ADVISORS, L.P. and NEXPOINT        §
ADVISORS, L.P.,                         §
                                        §
         Appellants,                    §
                                        §
                                                Civ. Act. No. 3:21-cv-00538-N
v.                                      §
                                        §
HIGHLAND CAPITAL MANAGEMENT,            §
L.P.,                                   §
                                        §
     Appellee.                          §
HIGHLAND GLOBAL ALLOCATION              §
FUND, HIGHLAND INCOME FUND,             §
NEXPOINT CAPITAL, INC., and             §
NEXPOINT STRATEGIC                      §
OPPORTUNITIES FUND,                     §
                                        §
          Appellants,                   §
                                                Civ. Act. No. 3:21-cv-00539-N
                                        §
v.                                      §
                                        §
HIGHLAND CAPITAL MANAGEMENT,            §
L.P.,                                   §
                                        §
         Appellee.                      §
                                        §
JAMES DONDERO,
                                        §
                                        §
         Appellant,
                                        §
                                        §       Civ. Act. No. 3:21-cv-00546-N
v.
                             §
                             §
HIGHLAND CAPITAL MANAGEMENT,
                             §
L.P.,
                             §


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         Appellee.                   §


GET GOOD TRUST and THE DUGABOY
                             §
INVESTMENT TRUST,            §
                             §
      Appellants,            §
                             §
v.                           §               Civ. Act. No. 3:21-cv-00550-N
                             §
HIGHLAND CAPITAL MANAGEMENT, §
L.P.,                        §
                             §
      Appellee.              §




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                                          ORDER


              On May 4, 2021, the Fifth Circuit granted direct appeal in 21cv538. On June

         2, 2021, direct appeal was also granted in 21cv539, 21cv546 and 21cv550 and the

         cases were consolidated for appeal purposes (see 5th Circuit Case No. 21-10449).

               Since the appeal to this Court is no longer relevant, these cases are

         administratively closed for statistical purposes without prejudice.




              Signed July 12, 2022.


                                          _______________________________
                                          David C. Godbey
                                          United States District Judge




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